         Case 1:24-cr-00542-AS                     Document 157-1        Filed 02/21/25    Page 1 of 2
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                                   Docket. No. 24 Cr. 542 (AS)

               - against -                                               DECLARATION IN SUPPORT
                                                                         OF MOTION TO WITHDRAW
SEAN COMBS,

                                    Defendant.

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STATE OF NEW YORK               )
COUNTY OF NEW YORK          ss .:
SOUTHERN DISTRICT OF NEW YORK )

          Anthony L. Ricco, Esq., pursuant to Title 28, United States Code, Section 1746, hereby declares

under the penalties of perjury:

          1.        On September 22, 2024, I was retained by the defendant, Sean Combs, to serve as his

counsel, and I have served as his counsel since that time. As a result of being retained, a Notice of

Appearance was filed in our Court on September 29, 2024. See, E.C.F. No. 22. This declaration is

submitted in support of the annexed notice of motion for my withdrawal as counsel, as is required under

S.D.N.Y. Local Court Rules. See, Local Rules of the United States District Courts for the Southern and

Eastern Districts of New York, Local Civil Rule 1.4, as incorporated into Local Criminal Rule 1.1.

          2.        For the reasons set forth below, this motion for withdrawal is filed so that Sean Combs

may move forward with his defense and to commence jury selection and trial without any delay.

                          I. Reasons To Be Relieved As Counsel For Sean Combs

          3.        As a result of discussions with lead counsel Mark Agnifilo, this motion for the

withdrawal of counsel is filed.

          4.        While I am aware that the Local Rule requires that an application for withdrawal of

counsel is supported and granted “only upon a showing by affidavit or otherwise of satisfactory reasons for

withdrawal,” there are sufficient reasons (related to the protections afforded by the attorney/client
          Case 1:24-cr-00542-AS           Document 157-1          Filed 02/21/25        Page 2 of 2
privilege) for brevity in my application for withdrawal as counsel in this case. Although I have provided

Sean Combs with the high level of legal representation expected by the court, under no circumstances

can I continue to effectively serve as counsel for Sean Combs, consistent with the ABA Standards for

Criminal Justice.

          5.      This motion for withdrawal of counsel, if granted, will not result in a delay of the present

schedule for the commencement of jury selection and trial, or the present schedules for briefing of pre-

trial legal issues. As a result, there will be no lapse in representation, as Sean Combs will continue to

be represented by five other attorneys of record.

          6.      Without violating any aspect of the attorney/client privilege, or otherwise providing any

details whatsoever on the grounds supporting the application, the government has been notified of the

filing of the motion to withdraw as counsel. The government takes no position on the motion seeking

withdrawal of counsel for Sean Combs.

          WHEREFORE, it is respectfully but regrettably requested that the court grant the relief requested

in the annexed notice of motion, and permit counsel Anthony L. Ricco to withdraw as attorney of

record.

Dated: New York, New York
       February 20, 2025



                                                                   Anthony L. Ricco




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